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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv. Criminal No. 21-0084 (PLF)
DANIEL PAGE ADAMS,
Defendant.
)
ORDER

Upon careful consideration of defendant Daniel Page Adams’ Motion to Modify
Conditions of Release [Dkt. No. 136] and the government’s Opposition to Defendant’s Motion to
Modify Conditions of Release [Dkt. No. 137], the Court hereby DENIES Mr. Adams’ motion
substantially for the reasons set forth in the government’s Opposition. Accordingly, it is hereby

ORDERED that Mr. Adams’ Motion to Modify Conditions of Release [Dkt.
No. 136] is DENIED.

SO ORDERED.

PAUL L. FRIEDMAN
United States District Judge

DATE: af (fF (24
